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                        UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF KENTUCKY
                                AT PADUCAH
                           ELECTRONICALLY FILED



 RICKY BROWN                              )       Civil Action No.   5:22-cv-26-TBR
                                          )
       PLAINTIFF                          )
                                          )
 v.                                       )
                                          )
 TOYODA GOSEI NORTH AMERICA               )
 CORPORATION                              )
                                          )
       DEFENDANT                          )



                                 NOTICE OF REMOVAL

                                          *****

             This is Toyoda Gosei North America Corporation’s Notice of Removal of the

above-captioned case to the United States District Court for the Western District of

Kentucky at Paducah. Pursuant to 28 U.S.C. § 1446, Toyoda Gosei North America

Corporation states as follows.

             1.     On or about January 18, 2022, the plaintiff, Ricky Brown, filed a civil

action against Toyoda Gosei North America Corporation in the Christian Circuit Court,

Division 1, designated therein as Civil Action No. 22-CI-00031.

             2.     Ricky Brown’s action is a personal-injury action against Toyoda

Gosei North America Corporation. Mr. Brown alleges that he fell and was injured on

Toyoda Gosei North America Corporation’s premises because of a dangerous condition
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on the premises. 1 A copy of Brown’s complaint is attached as Exhibit 1. Also attached, as

Exhibit 2, is a copy of Toyoda Gosei North America Corporation’s answer to Brown’s

complaint. Finally, attached as Exhibit 3 is the CourtNet docket report relating to Brown’s

civil action in the Christian Circuit Court.

              3.     According to Mr. Brown’s complaint, he is now, and was at the

commencement of this action, a resident and citizen of Tennessee.

              4.     Defendant Toyoda Gosei North America Corporation is now, and was

at the commencement of this action, a corporation incorporated and existing under the

laws of Michigan. Defendant Toyoda Gosei North America Corporation now has, and did

have at the commencement of this action, its principal place of business in Michigan.

              5.     For purposes of 28 U.S.C. § 1332, Ricky Brown is now, and was at the

commencement of this action, a Tennessee citizen. For purposes of 28 U.S.C. § 1332,

Toyoda Gosei North America Corporation is now, and was at the commencement of this

action, a Michigan citizen. Thus, there is complete diversity of citizenship herein.

              6.     Based on information provided to the undersigned by Ricky Brown’s

counsel of record, Mr. Brown’s alleged fall has allegedly caused him to incur (1) medical

expenses of approximately $29,000 to date, (2) total wage loss for approximately one year



       1      TG Automotive Sealing Kentucky, LLC owns the premises on which plaintiff
Brown alleges he fell. Mr. Brown incorrectly named Toyoda Gosei North America
Corporation as the premises’ owner and as his defendant. TG Automotive Sealing
Kentucky, LLC will voluntarily substitute as Brown’s defendant or be added as a
defendant once this case has been removed. The substitution or addition will not affect
the Court’s diversity jurisdiction because Toyoda Gosei North America Corporation is TG
Automotive Sealing Kentucky, LLC’s sole member. As this is the case, for diversity
purposes, TG Automotive Sealing Kentucky, LLC’s citizenship is determined by Toyoda
Gosei North American Corporation’s citizenship. In short, like Toyoda Gosei North
American Corporation, TG Automotive Sealing Kentucky, LLC is a citizen of Michigan for
diversity purposes.


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to date, (3) pain and suffering for approximately one year to date, (4) bodily injuries that

will require him to undergo a lumbar laminectomy, and (5) bodily injuries that will cause

him future pain and suffering. Based on this information, as well as Mr. Brown’s

complaint allegations, the amount in controversy in this case exceeds $75,000 exclusive

of interest and costs.

              7.     As the parties here are completely diverse and the amount in

controversy here exceeds $75,000 exclusive of interest and costs, this action is one over

which the district courts of the United States have original jurisdiction pursuant to 28

U.S.C. § 1332. This action is removable to this Court pursuant to 28 U.S.C. § 1441. This

district and division embrace the place where the action has been pending.

              8.     Under 28 U.S.C. § 1391(a), this Court is a proper venue for this action

because it is a civil action in which jurisdiction is based on diversity of citizenship and the

alleged accident herein occurred in Christian County, which is in the Western District of

Kentucky as well as the Court’s Paducah Division.

              9.     Toyoda Gosei North America Corporation received the summons and

Brown’s complaint (through CT Corporation System) on January 25, 2022. Thus, Toyoda

Gosei North America Corporation filed this Notice of Removal within 30 days of its receipt

of Brown’s complaint, which makes the notice timely.

              10.    Toyoda Gosei North America Corporation will promptly give written

notice of the filing of this Notice of Removal to counsel for Ricky Brown and will promptly

file a copy of this Notice of Removal with the Clerk of the Christian Circuit Court.

              11.    This Notice of Removal is signed by counsel for Toyoda Gosei North

America Corporation pursuant to FRCP 11.




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                                          COUNSEL FOR DEFENDANT, TOYODA
                                          GOSEI NORTH AMERICA CORPORATION



                               CERTIFICATE OF SERVICE

              I hereby certify that on this 21st day of February, 2022 I electronically filed

the foregoing with the clerk of the court by using the CM/ECF system which will send an

electronic copy to the following:

              Lauren Marley
              MORGAN & MORGAN
              360 E. 8th Avenue, Suite 411
              Bowling Green, KY 42101



                                                 /s/ Robert E. Stopher
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